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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

LEARNING RESOURCES, INC.,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
       v.                                         )     Case No:
                                                  )
EDUCATION.COM HOLDINGS, INC.                      )
                                                  )
                       Defendant.                 )     Jury Trial Demanded
                                                  )
                                                  )

                                             Complaint

       Plaintiff Learning Resources, Inc. (“Learning Resources” or “LR”) complains against

Defendant Education.com Holdings, Inc., sometimes doing business as Education.com, Inc.

(“Education.com” or “EH”), as follows:

                                         Nature of the Case

       1.      Defendant Education.com is unfairly exploiting the reputation and goodwill of

plaintiff Learning Resources’ trademarks by using the name “Learning Resources” on its website

to drive traffic and lure consumers to its website and increase its sales.

       2.      Learning Resources, including its division Educational Insights, develops, makes,

and sells award-winning educational products, including toys, games, and publications. Since its

founding in 1984, Learning Resources has built a reputation for innovative, high-quality

products. Learning Resources’ products are used by school children and school teachers in

kindergarten, primary school, and middle school, as well as families at home. Learning

Resources sells its products under the LEARNING RESOURCES and EDUCATIONAL

INSIGHTS brands through a worldwide network of educational product dealers and
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representatives, toy and specialty stores, web merchants, direct mail catalogs, and its own

websites (www.LearningResources.com and www.educationalinsights.com).

       3.      Upon information and belief, Education.com was founded in 2007 and owns and

operates the website www.Education.com (the “Education.com website”). The Education.com

website is an interactive website that offers activity instructions, worksheets, workbooks,

educational games, lessons plans, and other content for students in preschool through high

school, with a concentration in the preschool through third grade levels. The Education.com

website offers privileged access to paid content available on the website based on membership

status. A basic membership provides free, but restricted, access to content on the website.

Premium memberships require a paid subscription and provide additional or unrestricted access

to content on the website. Upon information and belief, Education.com does not offer access to

its content other than through its website.

       4.      Learning Resources does not sponsor, endorse, or approve any of

Education.com’s products and Education.com does not resell Learning Resources’ products.

Education.com, however, uses “Learning Resources” repeatedly on its website and in the

website’s metadata to market, advertise, and sell its products and to boost the rank or prominence

of its website when the public conducts internet searches for the “Learning Resources” name.

       5.      Education.com’s unauthorized use of “Learning Resources” is intended to

unlawfully reap the benefits of the goodwill and reputation of the LEARNING RESOURCES

trademarks by misdirecting consumers expecting to purchase Learning Resources’ products to

Education.com’s website and products. Education.com’s use of “Learning Resources” is likely

to deceive and confuse the public as to an association or affiliation between Education.com and

its products and Learning Resources and its products, thereby irreparably harming Learning




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Resources’ reputation in the children’s educational-product marketplace. The likelihood of

confusion is increased by the similarity of Education.com’s name to the name and registered

service mark of Learning Resources’ division EDUCATIONAL INSIGHTS.

                                              Parties

       6.      Plaintiff Learning Resources, Inc. is a corporation duly organized and existing

under the laws of the State of Illinois. Learning Resources has its principal place of business at

380 North Fairway Drive, Vernon Hills, Illinois.

       7.      Defendant Education.com Holdings, Inc. is a corporation organized and existing

under the laws of the State of Delaware. Education.com has its principal place of business at 333

South B Street, Unit 101, San Mateo, California.

       8.      This action arises under the Lanham Act, 15 U.S.C. §§ 1051, et seq., the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS §§ 510/1-510/7, and Illinois common law.

       9.      This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1121 and 28

U.S.C. §§ 1331, 1332, 1338(a) and (b), and 1367(a). The matter in controversy exceeds the sum

or value of $75,000.00, exclusive of interest and costs.

       10.     This Court has personal jurisdiction over Education.com because Education.com

is transacting business and has committed tortious acts complained of in this Complaint within

this state and judicial district. Education.com operates an interactive e-commerce website

(www.Education.com) which bears the term “Learning Resources” through which Illinois

residents can purchase membership and access to Education.com’s products. Upon information

and belief, Education.com has sold memberships or provided access to its products through its

website to residents of Illinois. For example, School District 54 of Schaumburg, Illinois,

comprised of 21 elementary schools, 5 junior high schools, and one combined K-8 school, states




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in a check registry on its own website that it has purchased products from Education.com. True

and correct copies of an excerpt from “Check Registry for 2016-17,” available at

https://sd54.org/resources/finances/, and related District 54 web pages are attached to this

Complaint, except that markings have been added for emphasis. (See Ex. A.) In addition,

School District 308 of Oswego, Illinois, comprised of 22 elementary, junior high, and high

schools, provides links to the Education.com website on its own website, thereby facilitating the

purchase of Education.com products. True and correct copies of a screenshot of a search results

page from the District 308 website, available at

https://www.sd308.org/site/Default.aspx?PageType=6&SiteID=4&SearchString=education.com,

and a related District 308 web page at www.ptag308.org/resources.html are attached to this

Complaint, except that markings have been added for emphasis. (See Ex. B.) Further, at least

one teacher, Christina Chapan, at the Illinois School, which is part of School District 162 of

Matteson, Illinois, links the Education.com website to the District 162 website and lists it among

the “helpful websites we are working on daily in the classroom.” A true and correct copy of a

Christina Chapan’s District 162 web page at https://www.sd162.org/Page/2750 is attached to this

Complaint, except that markings have been added for emphasis. (See Ex. C.)

       11.     Further, Education.com has solicited business from Illinois residents using

targeted marketing materials that unlawfully display Plaintiff’s LEARNING RESOURCES

trademark. For example, on or about June 1, 2018, Education.com sent an email to an employee

of hand2mind, Inc. of Vernon Hills, Illinois, inviting hand2mind, Inc. to “Join millions of

members” and offering “Learning Resources” which are “[u]sed by millions of parents, teachers,

and homeschoolers.” A true and correct copy of an email dated June 1, 2018 from

Education.com to hand2mind, Inc. is attached to this Complaint, except that markings have been




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added for emphasis. (See Ex. D.) Moreover, between April 2010 and December 2017,

Education.com had an employee, Clarisse Chalgren, in Illinois responsible for establishing and

managing a Midwest office for Education.com. A true and correct copy of a LinkedIn profile for

Clarisse Chalgren, available at https://www.linkedin.com/in/clarisse-challgren-39bb574/, is

attached to this Complaint, except that markings have been added for emphasis. (See Ex. E.)

       12.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391.

                                        Factual Background

       13.     Learning Resources was founded in 1984 and is known for its innovative products

and high-quality education materials.

       14.     Learning Resources designs, arranges for the manufacture, and sells a variety of

hands-on educational products, including play and learning activity sets, manipulatives, and

games that build foundational skills in various subject areas as well as other educational

products, such as rulers, balances, demonstration and student clocks, and teaching publications,

classroom supplies, classroom storage and organizational supplies, teaching supplies,

demonstration materials, and educational activity books. These products typically are used by

school children, their parents or care-givers, and school teachers in kindergarten, primary school,

and middle school.

       15.     Learning Resources principally sells its products through its network of

authorized dealers (such as web merchants, stores, catalog companies, sales organizations and

other resellers). Learning Resources’ dealers resell its products to schools, teachers, consumers,

and others. Learning Resources’ dealers will sometimes repackage Learning Resources’

products with other products to create “kits” that may be sold to schools or other educational

providers to teach specific concepts. Learning Resources also sells its products through toy and




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specialty stores, direct mail catalogs, and its own websites (www.LearningResources.com and

www.educationalinsights.com), and through online marketplaces and retail websites such as

Amazon.com and Walmart.com.

       16.     Plaintiff has continuously used “Learning Resources” as its company or trade

name and as the trademark for its products since 1984. Learning Resources considers its trade

name and trademarks to be among its most valuable assets.

       17.     Learning Resources owns the following trademarks and corresponding U.S.

Trademark Registrations (collectively, the “LEARNING RESOURCES Marks”): (a)

Registration No. 1,380,334, duly issued by the United States Patent and Trademark Office on

January 28, 1986, for the mark LEARNING RESOURCES for a wide range of children’s

educational materials and products; (b) Registration No. 2,161,378, duly issued by the United

States Patent and Trademark Office on June 2, 1998, for the mark LEARNING RESOURCES

for a wide range of educational scientific apparatus and products such as educational books and

texts and educational toys and games; and (c) Registration No. 5,098,134, duly issued by the

United States Patent and Trademark Office on December 13, 2016, for the mark LR LEARNING

RESOURCES and design for a wide range of electronic learning aids and other educational toys,

games, and publications. Registration Nos. 1,380,334 and 2,161,378 are incontestable pursuant

to 15 U.S.C. §1115(b). True and correct copies of the registration certificates are attached to this

Complaint. (See Exs. F, G, and H.)

       18.     Learning Resources has extensively and continually promoted its LEARNING

RESOURCES Marks. Learning Resources has expended substantial amounts of time, effort, and

money to cause the public to identify and associate its LEARNING RESOURCES Marks

exclusively with it. As a result, Learning Resources has achieved a valuable reputation for




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providing innovative, high-quality educational products. Learning Resources enjoys substantial

demand for and use of its products as well as tremendous goodwill in its LEARNING

RESOURCES Marks.

       19.     Learning Resources markets its “Learning Resources” brand via online videos,

retail displays, catalogs, and tradeshows, television appearances, social media, email, contests,

blogs, You tube and other social influencers, paid search advertisements and online display and

video advertisements appearing on thousands of websites.

       20.     Learning Resources has won hundreds of awards for its “Learning Resources”

brand products.

                              Education.com’s Unlawful Conduct

       21.     Upon information and belief, for the period 2007 (when Education.com was

formed) until about February 2016, Education.com did not reference or display “Learning

Resources” on the Education.com website. A true and correct copy of a screenshot of the

Education.com home page archived by www.web.archive.org dated February 23, 2016, is

illustrated below.




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       22.    Upon information and belief, in or about 2016, Education.com began improperly

and unlawfully using the term “Learning Resources” on its website to market its products and

continues to do so, notwithstanding the fact that Learning Resources had previously used its

brand name “Learning Resources” for over 30 years and had obtained federal trademark

protection for its LEARNING RESOURCES Marks. This webpage uses “Learning Resources”

in ways similar to the ways dealers of Learning Resources products use “Learning Resources” to

identify themselves as resellers of Learning Resources products. A true and correct copy of a

screenshot of the web page at https://www.education.com/resources/ from the Education.com

website is illustrated below, except that markings around the references to “Learning Resources”

in the screenshot have been added for emphasis.




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       23.     As a result of Education.com’s use of the term “Learning Resources” on the

Education.com website and in the website’s metadata, the Google search engine prominently

displays the headline “Learning Resources │ Education.com” for the Education.com website on

the first page of the natural search results returned when the public searches the name “Learning

Resources.” The text below this headline states that “In this day and age, learning resources

have moved online ….”, replicating the text of Education.com’s webpage shown in paragraph

22. Education.com is therefore using “Learning Resources” to deliberately boost the rank of its

website in the search results, advertise its business, and suggest that it is an “online” reseller of

Learning Resources’ products. The search result for Education.com is juxtaposed with Google-

generated corporate information about Learning Resources, Inc., creating the implication that

Education.com is part of Learning Resources, Inc. A true and correct copy of a screenshot of the


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first results page for a Google search for “Learning Resources” is illustrated below, except that a

marking around the Education.com result in the screenshot has been added for emphasis.




       24.     As a result, when a person conducts an internet search for “Learning Resources,”

Education.com’s use of the term “Learning Resources” causes the Google search engine to direct

the person searching for “Learning Resources” to the Education.com website, even though

Education.com does not offer Learning Resources’ products on its website. Upon clicking the

search result “Learning Resources │ Education.com,” the person searching for “Learning

Resources” sees Education.com’s website and, more specifically, sees the page shown in ¶ 22 of

this Complaint entitled “Learning Resources.” Both the natural search results on Google and

Education.com’s own website (https://www.education.com/resources/) state that “learning

resources have moved online,” seemingly confirming that Learning Resources has “moved” its

educational content to digital offerings on Education.com.

       25.     The natural search results returned by the Google search engine for the name

“Learning Resources” demonstrate the likelihood of confusion. The link to the Education.com



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website is surrounded by links to Learning Resources and Learning Resources’ resellers’ web

sites and information about Learning Resources and its products. All other uses of the name

“Learning Resources” on the first page of the natural search results returned by Google relate to

paid advertisements purchased by Learning Resources, Learning Resources’ own website, or to

web pages displaying Learning Resources’ products by its authorized resellers, such as

Walmart.com and Amazon.com.

       26.     On June 7, 2018, Mr. Richard Woldenberg, Chief Executive Officer of Learning

Resources, sent a message to Mr. Todd Schwartz, Co-Chief Executive Officer of Education.com,

via LinkedIn. Mr. Woldenberg informed Mr. Schwartz of Education.com’s unauthorized use of

the trademark “Learning Resources” on its website. Mr Woldenberg requested that

Education.com replace the term to avoid confusion.

       27.     On June 12, 2018, Mr. Schwartz responded to Mr. Woldenberg via LinkedIn

stating that Education.com believed its use of the term is not infringing.

       28.     On June 12, 2018, Mr. Woldenberg replied to Mr. Schwartz reiterating Learning

Resources’ concern with Education.com’s use of “Learning Resources” on its website. Mr.

Woldenberg asked to schedule a call with Mr. Schwartz to discuss an amicable resolution of the

dispute. Mr. Schwartz accepted Mr. Woldenberg’s invitation for a call on the same day by

email. On June 13, 2018, Mr. Woldenberg sent another email to Mr. Schwartz with a

suggestion: “Todd, further to my last message, one idea we have is that you could change the

title of the ‘Learning Resources’ page to something similar like ‘Library of Resources,’

‘Learning Help,’ ‘Resource Worksheets’ or some such. We are hopeful that a solution of that

nature could meet both of our needs with minimal inconvenience or expense on your end.”




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       29.     On June 20, 2018, Mr. Woldenberg spoke with Mr. Schwartz via telephone. In

sum and substance, Mr. Woldenberg noted again that Learning Resources believes

Education.com’s use of the term “Learning Resources” is causing and will continue to cause

confusion with Plaintiff’s LEARNING RESOURCES Marks. Mr. Woldenberg informed Mr.

Schwartz of the strong marketing efforts Learning Resources has made since its founding in

1984 to raise consumer awareness of its LEARNING RESOURCES Marks and that Learning

Resources is very well-known for these marks. Mr. Woldenberg explained that Learning

Resources would prefer to resolve the matter amicably and proposed an inexpensive solution

achieved over a reasonable period of time to relieve any business disruptions to Education.com.

       30.     In sum and substance, Mr. Schwartz confirmed that he, too, was interested in an

amicable and low-cost resolution of the dispute. Mr. Schwartz emphasized that while he wished

to avoid a conflict with Learning Resources, “his web people” told him that the ranking of the

Education.com website in Google’s natural search results for the term “Learning Resources” is

very profitable for Education.com. Mr. Schwartz stated that Education.com could not afford to

walk away from that revenue stream. Mr. Schwartz also stated that Education.com could not

find a suitable solution that would avoid use of the term “Learning Resources” while preserving

the revenue from the natural search results for “Learning Resources.” He stated that no term

other than “Learning Resources” would suffice for this reason.

       31.     Mr. Schwartz questioned Mr. Woldenberg about other natural search results for

“Learning Resources,” asking how companies like Amazon, Walmart, and Target were able to

use the term “Learning Resources” on their websites. Mr. Woldenberg advised that he was not

aware of any website using that term for any purpose other than to refer to the products of his

company and noted that these companies were all customers of Learning Resources, Inc. (i.e.,




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resellers of its products). At the conclusion of the conversation, Mr. Schwartz agreed to consult

his team and present a proposal to resolve the dispute after Education.com’s next Board meeting

in early July, 2018

       32.     Later on June 20, 2018, Mr. Woldenberg wrote Mr. Schwartz to confirm the

content of their conversation and to follow up on Mr. Schwartz’s questions about other sites’ use

of the term “Learning Resources”:

       I wanted to respond to one point that you made in our conversation. You
       asked about the ‘Learning Resources’ page on Walmart.com, Target.com and
       Amazon.com. I have attached a screenshot of the search results for “learning
       resources” on Google, and the only link that does not refer to our company or
       our products is the fourth link, which refers to your company. The top listing
       is a paid advertisement that we purchase from Google AdWords, and as you
       can also see, our company comes up as the first natural search result and on
       the right panel in a profile. All of the other links are to our product pages on
       various websites. None of the sites you referenced use the term “learning
       resources” as a category. Those prominent sites use “Learning Resources” in
       a trademark sense to only refer to us, which is proper since they are all
       reselling our products. This illustrates the problem with Education.com and
       actually suggests that your company may be benefiting from our goodwill
       through use of our tradename as a descriptor. Hence my interest in resolving
       this issue quickly and avoiding confusion.

       33.     Having received no response from Mr. Schwartz in early July, Mr. Woldenberg

sent two emails to Mr. Schwartz on July 11 and 18, 2018, asking for Education.com’s proposal

to resolve the dispute.

       34.      On July 26, 2018, Mr. Schwartz called Mr. Woldenberg and advised him that

after reviewing the use of the term “Learning Resources” on the Education.com website,

Education.com had concluded that no other term in the English language could suffice to

accurately describe Education.com’s products and therefore Education.com had decided that it

would not remove “Learning Resources” from its website. Mr. Schwartz suggested that the




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parties simply agree to coexist. Mr. Woldenberg informed Mr. Schwartz that Education.com’s

proposal was unacceptable.

       35.     Despite this notice from Learning Resources, Education.com has used and

continues to unlawfully and intentionally use and display “Learning Resources” on the

Education.com website to unfairly advertise, market, and sell its products, all to Learning

Resources’ detriment.

                                         COUNT I
                   Lanham Act Violation - Federal Trademark Infringement

       36.     Learning Resources incorporates the allegations of Paragraphs 1-35 of this

Complaint by reference into this Count as though fully set forth herein.

       37.     Learning Resources owns valid and enforceable rights in the LEARNING

RESOURCES Marks in connection with the products listed on Exs. F, G, and H throughout the

United States of America.

       38.     Notwithstanding Learning Resources’ prior, continuous, and extensive use of the

LEARNING RESOURCES Marks, Education.com is using, reproducing, counterfeiting,

copying, or imitating the LEARNING RESOURCES Marks in association with its products, on

its Education.com website and elsewhere. Consequently, Education.com is unfairly gaining a

prominent ranking in natural search results on the internet for the term “learning resources.”

       39.     Education.com’s use of “Learning Resources” in commerce is likely to cause

confusion, mistake, or deception as to the source, affiliation, connection, or association of

Education.com’s business and products in violation of 15 U.S.C. § 1114.

       40.     Education.com’s actions constitute willful infringement, or inducing or

contributing to the willful infringement, of Plaintiff’s LEARNING RESOURCES Marks.




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       41.     Unless enjoined by the Court, Education.com will continue to do the acts

complained of herein and cause damage and injury, all to Learning Resources’ irreparable harm

and Education.com’s unjust enrichment.

                                         COUNT II
                      Lanham Act Violation - Federal Unfair Competition

       42.     Learning Resources incorporates the allegations of Paragraphs 1-35 of this

Complaint by reference into this Count as though fully set forth herein.

       43.     Education.com’s unlawful use in commerce of “Learning Resources” in

association with its products, on its Education.com website, and elsewhere constitutes false

designation of origin and false description because the unlawful use is likely to cause confusion,

or to cause mistake, or to deceive the public as to the affiliation, connection, or association of

Education.com and Education.com’s products with Learning Resources and its LEARNING

RESOURCES Marks and products, or mislead the public into believing that Learning Resources

is the origin of, or has sponsored or approved of Education.com, its website, and its products.

       44.     Education.com’s acts described herein constitute a willful violation of 15 U.S.C. §

1125(a).

       45.     Unless enjoined by the Court, Education.com will continue to do the acts

complained of herein and cause damage and injury, all to Learning Resources’ irreparable harm

and Education.com’s unjust enrichment.

                                       COUNT III
                             Common Law Trademark Infringement

       46.     Learning Resources incorporates the allegations of Paragraphs 1-35 of this

Complaint by reference into this Count as though fully set forth herein.




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        47.    By reason of the foregoing, Learning Resources has acquired common law

trademark rights in the LEARNING RESOURCES Marks and the “Learning Resources” trade

name.

        48.    Notwithstanding Learning Resources’ prior, continuous, and extensive use of the

LEARNING RESOURCES Marks and the “Learning Resources” trade name, Education.com is

using, reproducing, counterfeiting, copying, or imitating the LEARNING RESOURCES Marks

and the “Learning Resources” trade name in association with its products, on its Education.com

website and elsewhere. Consequently, Education.com is unfairly gaining a prominent ranking in

natural search results on the internet for the term “Learning Resources.”

        49.    Education.com’s use in commerce of “Learning Resources” is likely to cause

confusion, mistake, or deception as to the source, affiliation, connection, or association of

Education.com’s business and products in violation of the common law of the State of Illinois.

        50.    Education.com’s actions constitute willful infringement, or inducing or

contributing to the willful infringement, of Learning Resources’ common law trademark rights in

the LEARNING RESOURCES Marks and the “Learning Resources” trade name.

        51.    Unless enjoined by the Court, Education.com will continue to do the acts

complained of herein and cause damage and injury, all to Learning Resources’ irreparable harm

and Education.com’s unjust enrichment.

                                           COUNT IV
                              Illinois Deceptive Trade Practices Act

        52.    Learning Resources incorporates the allegations of Paragraphs 1-35 of this

Complaint by reference into this Count as though fully set forth herein.




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       53.     Learning Resources is using the LEARNING RESOURCES Marks in commerce

to identify its products and to distinguish Learning Resources’ educational products from the

products of others.

       54.     After Learning Resources began using the LEARNING RESOURCES Marks for

its products, Education.com began using “Learning Resources” in commerce to identify

Education.com and its educational products.

       55.     Education.com’s acts constitute a violation of the Illinois Deceptive Trade

Practices Act, 815 ILCS § 510, because Education.com has passed off and is passing off its

products as Learning Resources’ products; has caused and is causing a likelihood of confusion or

misunderstanding as to the source, sponsorship, approval, or certification of goods or services;

has caused and is causing a likelihood of confusion or misunderstanding as to affiliation,

connection, or association with or certification by Learning Resources; and has misrepresented

and is misrepresenting that its products have the sponsorship, approval, or characteristics of

Learning Resources.

       56.     Unless enjoined by the Court, Education.com will continue to do the acts

complained of herein and cause damage and injury, all to Learning Resources’ irreparable harm

and Education.com’s unjust enrichment.




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                                         Prayer for Relief

       Learning Resources respectfully requests that the Court enter judgment in favor of

Learning Resources and against Education.com on Counts I through IV of this Complaint,

granting the following relief:

   a) judgment that Defendant has directly infringed, induced infringement of, or contributed

       to the infringement of Plaintiff’s trademarks;

   b) judgment that Defendant has engaged in unfair competition;

   c) an injunction against Defendant, its officers, agents, servants, employees, successors,

       assigns, parents, subsidiaries, affiliated or related companies, attorneys, and all others in

       active concert or participation with Defendant or who receive notice of such injunction,

       permanently enjoining and restraining them from: (i) using the term “Learning

       Resources” on Defendant’s websites, in metadata for Defendant’s websites, and

       elsewhere, and from using, affixing, offering for sale, selling, advertising, promoting or

       rendering goods or services with “Learning Resources” or any other trade name or

       trademark confusingly similar to the LEARNING RESOURCES Marks; (ii) the use of

       any false descriptions or representations or any false designations of origin or from

       otherwise committing any acts of unfair competition likely to cause confusion with the

       LEARNING RESOURCES Marks; (iii) use of any terms likely to cause confusion with

       the LEARNING RESOURCES Marks in connection with advertisements in any form,

       including, without limitation, advertisements for display on internet search engines or for

       the purpose of bolstering the position of Defendant’s website ranking on the results page

       of an internet search engine;




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d) an order that Defendant be directed to file in Court, and to serve on Plaintiff, within thirty

   (30) days after entry of the above injunction, a report in writing, under oath, setting forth

   in detail the manner and form in which it has complied with the injunction;

e) an order that Defendant be required to account for and pay over to Plaintiff all actual

   damages suffered by Plaintiff; all gains, profits, and advantages derived by Defendant

   from Defendant’s infringement of Plaintiff’s LEARNING RESOURCES Mark,

   Defendant’s aforesaid acts of unfair competition, and other unlawful acts; and such

   damages as the Court shall deem proper;

f) judgment that Defendant’s infringement of Plaintiff’s LEARNING RESOURCES Marks

   has been willful and that this constitutes an exceptional case;

g) trebling of damages pursuant to 15 U.S.C. § 1117;

h) an award of increased damages to fully compensate Plaintiff and punitive damages for

   the willful and wanton nature of Defendant’s wrongful acts;

i) an award to Plaintiff of its costs and expenses, including reasonable attorneys’ fees; and

j) any and all such other and further relief as this Court deems fair and equitable.




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                                         Jury Demand

       Learning Resources demands a trial by jury on all matters and issues properly tried to a

jury pursuant to Federal Rules of Civil Procedure 38 and 39, and other applicable federal and

state law.



Dated: August 27, 2018                                       /s/ Arthur Gollwitzer III

                                                      Arthur Gollwitzer III (6225038)
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